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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 LEO DIGITAL (HONG KONG)
 COMPANY LIMITED,

                         Plaintiff,

                 v.
                                                         Civil Action No. 1:23-cv-3745
 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”

                         Defendants.


                             SCHEDULE A – SEALED DOCUMENT

        This document is being filed under seal with a motion for leave to file documents under

seal. A full version of Schedule A will be filed separately under seal and will remain under seal

until further order of this court.
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DATED June 13, 2023.                               Respectfully submitted,

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